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        and Seymour


                             UNITED STATES DISTRICT COURT

                                    DISTRICT OF OREGON

                                      EUGENE DIVISION



 ANDREW CLARK                                                 Case No.        6:20-cv-00253-AA

                                   Plaintiff,
                                                  DEFENDANTS’ OGLETREE, DEAKINS,
                     vs.                          NASH, SMOAK, STEWART, P.C., LEAH
                                                          LIVELY, DAVID P.R. SYMES,
 WELLS FARGO BANK, OGLETREE                       CHRISTOPHER MIXON, AND STEVEN
 DEAKINS NASH SMOAK STEWART,                               SEYMOUR’S MOTION FOR
 P.C., OREGON BAR ASSOCIATION,                     PROTECTIVE ORDER AND MOTION
 LEAH C LIVELY, DAVID P.R. SYMES,                          TO DECLARE PLAINTIFF A
 CHRISTOPHER MIXON, MICHAEL                                   VEXATIOUS LITIGANT
 HOGAN, ALEX GARDNER, ERIK
 HASSELMAN, STEVEN SEYMOUR,                                     Pursuant to Fed. R. Civ. P. 26(c)
 CHRISTIAN ROWLEY, BENJAMIN
 GUTMAN, BARRY DAVIS, DAVID                                            Request for Oral Argument
 CAMPBELL, BRUCE NEWTON,
 PETER URIAS, ELLEN ROSEBLUM,
 SABASTIAN NEWTON TAPIA, BEN
 MILLER, and VANESSA NORDYKE

                                Defendants.
                            LOCAL RULE 7-1 CERTIFICATION

       The undersigned counsel made a good faith effort to confer with Plaintiff pro se

regarding the substance of this motion, including each claim, defense and issue raised herein, by

email. Unfortunately, the parties were unable to resolve the issues.

 DEFENDANT’S OGLETREE, DEAKINS, NASH, SMOAK, STEWART, P.C., LEAH                           Page - 1
 LIVELY, DAVID P.R. SYMES, CHRISTOPHER MIXON, AND STEVEN SEYMOUR’S
 MOTION FOR A PROTECTIVE ORDER AND MOTION TO DECLARE PLAINTIFF A
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                                              MOTION

       Defendants     Ogletree,    Deakins,    Nash,    Smoak,    Stewart,    P.C.,   Leah   Lively,

David P.R. Symes, Christopher Mixon, And Steven Seymour (“defendants”), by and through

their counsel, John E. Pollino, hereby respectfully move this Court for a Protective Order

pursuant to Fed. R. Civ. P. 26(c). Further, pursuant to 28 U.S.C. § 1651(a), the defendants

request this Court enter an order declaring Plaintiff a vexatious litigant and prohibiting Plaintiff

from filing future complaints.

       This motion is supported by the Memorandum in Support of Defendants’ Motion for a

Protective Order and Motion to Declare Plaintiff a Vexatious Litigant; the Declaration and

Exhibits in Support of Defendants’ Motion to Dismiss, Motion for a Protective Order, and

Motion to Declare Plaintiff a Vexatious Litigant; and the trial court file.

       DATED this 9th day of April, 2020.

                            GARRETT HEMANN ROBERTSON P.C.



                                        s/ John E Pollino
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 DEFENDANT’S OGLETREE, DEAKINS, NASH, SMOAK, STEWART, P.C., LEAH                             Page - 2
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                                  CERTIFICATE OF SERVICE

       I hereby certify that I caused to be served the foregoing Defendant’s Motion for a
Protective Order and Motion to Declare Plaintiff a Vexatious Litigant on the date indicated
below,

       [X]      Via First-Class Mail with postage prepaid
       [X]      Via Electronic Filing
       [ ]      Via Facsimile Transmission
       [ ]      Via Hand Delivery
       [ ]      Via Overnight Delivery

to the following person(s) a true copy thereof, contained in a sealed envelope (if other than by
electronic filing notice), addressed to said person(s) at their last known addresses indicated
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         DATED this 9th day of April, 2020.

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